     Case 1:23-cv-12077-WGY          Document 31     Filed 12/18/23   Page 1 of 20



                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS


__________________________________________
JOHN DOE,                                  )
                Plaintiff,                 )
                                           )
v.                                         )           Case No. 1:23-cv-12077-WGY
                                           )
UNIVERSITY OF MASSACHUSETTS,               )
TRUSTEES OF THE UNIVERSITY OF              )
MASSACHUSETTS, HANNAH MONBLEAU, )
in her official and individual capacities, )
KATE LEGEE, in her official and individual )
capacities, ESMERALDA LEVESQUE, a/k/a      )
ESMERALDA MENDEZ, in her official and      )
individual capacities, ADAM DUNBAR, in his )
official and individual capacities,        )
BRETT SOKOLOW,                             )
                Defendants.                )
__________________________________________)


                          JOINT PRETRIAL MEMORANDUM

         Plaintiff John Doe (“Doe”) and Defendants the University of Massachusetts, the

Trustees of the University of Massachusetts (with the University of Massachusetts, the

“University”), Hannah Monbleau, Kate Legee, Esmeralda Levesque, and Adam Dunbar

(Monbleau, Legee, Levesque, Dunbar, and the University, collectively, the “University

Defendants”) submit the following joint pretrial memorandum.

   (1)      Concise Summary of the Evidence

            A. Plaintiﬀ

         This matter concerns adverse action taken by the University of Massachusetts

Defendants against John Doe (Doe) in retaliation for statements and gestures made by
      Case 1:23-cv-12077-WGY        Document 31       Filed 12/18/23    Page 2 of 20

                                Joint Pretrial Memorandum


Doe to his fellow Resident Advisors (“RAs”) at the University of Massachusetts Lowell,

MA campus (UMass Lowell).

       The evidence will show that on the night of May 6, 2023, Doe encountered a

fellow RA, C.T., drinking alcohol with several other students in his residence hallway

and outside of the privacy of her own room in violation of the UMass Lowell Student

Alcohol Policy. On May 7, 2023, C.T. and three other female students at UMass Lowell

who act as RAs reported to their supervisor that some of Doe’s words or actions over

the previous several months made them “uncomfortable.” After an investigation by

Defendant Hannah Monbleau, a hearing panel composed of Defendants Kate Legee,

Adam Dunbar, and Esmeralda Levesque found Doe responsible for violating the UMass

Student Conduct Code’s prohibition against “sexual misconduct” on the basis of three

instances of pure speech and two instances of communicative conduct directed toward

four separate female RAs: 1) Doe was “saying the word sex while talking about food”

with C.T; 2) Doe said to S.K., “I don’t need someone to have sex with”; 3) Doe said to

G.D, “what if I stuck my penis in your face?” during an argument about religion; 4) Doe

approached J.T. to “hug her without asking until his arms were outstretched and she

felt obligated to engage”; and 5) Doe “moved [J.T.’s] feet on [an exercise] shaker plate,

and did so with his own feet” without “any conversation asking for consent.”

       UMass Lowell has a Student Conduct Process (Student Conduct Process) that

governs the conduct of its students and is superintended by the Office of Student


                                       Page 2 of 20
     Case 1:23-cv-12077-WGY        Document 31       Filed 12/18/23   Page 3 of 20

                               Joint Pretrial Memorandum


Conduct. Separately, UMass Lowell has a Title IX Sexual Harassment Grievance

Procedure (Title IX Procedure), which also governs the conduct of its students, and

which is superintended by the Title IX Coordinator’s office. The Student Conduct Code

and the Title IX Procedure use two separate terms, 2) “Title IX Sexual Harassment,” and

2) “Non-Title IX Sexual Misconduct,” to define identical conduct:

       Sexual Harassment under the Title IX      [Non-Title IX] Sexual Misconduct:
       regulations means conduct on the          unwelcomed conduct of a sexual
       basis of sex that satisﬁes one or more    nature when:
       of the following:

       (i) An employee of the university         1. submission to or rejection of such
       conditioning the provision of an aid,     conduct by a person or persons is
       beneﬁt, or service of the university on   used as a basis for employment or
       an individual's participation in          educational decisions affecting such
       unwelcome sexual conduct;                 person or persons, or participation in
                                                 University programs or activities; or

       (ii) Unwelcome conduct determined         2. such conduct unreasonably:
       by a reasonable person to be so           interferes with a person or person's
       severe, pervasive, and objectively        work or academic performance;
       oﬀensive that eﬀectively denies a         interferes with or limits a person or
       person equal access to the university's   person's ability to participate in or
       education program or activity; or . . .   benefit from a work or academic
                                                 program or activity; or creates an
                                                 intimidating, hostile, or offensive
                                                 working or academic environment.

      On May 19, 2023, Doe received separate letters from the Oﬃce of Student

Conduct and from a Deputy Title IX Coordinator. The former informed Doe that it will

use the Student Conduct Process to investigate his alleged conduct as sexual

misconduct. The latter informed Doe that her oﬃce will use the Title IX Procedure to


                                      Page 3 of 20
      Case 1:23-cv-12077-WGY        Document 31       Filed 12/18/23   Page 4 of 20

                                Joint Pretrial Memorandum


investigate the same conduct as sexual harassment. Neither letter gave Doe any notice

of his alleged conduct. During the investigation, the University Defendants denied

Doe’s repeated requests to see the relevant evidence against him.

      On July 11, 2023, Michael Coughlin, UMass Lowell’s Associate Director of

Student Rights & Responsibilities, emailed Doe that the investigation has concluded

and will be reviewed by a hearing panel pursuant to the Student Conduct Process. On

July 12, 2023 Coughlin, now identifying himself as a Deputy Title IX Coordinator,

emailed Doe that the investigation instead will be moving to a “Title IX hearing panel,

and you will need an advisor to conduct cross-examination.” On July 13, Coughlin,

reverting to his role as Associate Director of Student Rights & Responsibilities, emailed

Doe that the hearing panel will be held pursuant to the Student Conduct Process after

all. Under the Student Conduct Process, Doe had no right to confront his accusers and

test the credibility of the witnesses against him through cross-examination by counsel.

Doe also had no right to an eﬀective appeal. Therefore, Doe retained counsel, refused to

appear before the hearing panel, and ﬁled a federal lawsuit instead. During Defendants’

process against Doe, he developed throat ulcers and acid reﬂux, and a doctor found

traces of blood in his urine as physical manifestations of the emotional distress caused

by Defendants’ actions.




                                       Page 4 of 20
          Case 1:23-cv-12077-WGY      Document 31       Filed 12/18/23   Page 5 of 20

                                   Joint Pretrial Memorandum


          The University Defendants Violated Doe’s First Amendment Rights

          The evidence will show that the University Defendants took adverse

employment and academic action against Doe in substantial or motivating part due to

Doe’s three non-obscene comments related to sex and two nonsexual communicative

acts that caused oﬀense to four female RAs during informal interactions with Doe. The

University’s adverse actions were intended to prevent Doe from causing such oﬀense to

female RAs in the future. The University Defendants may not regulate Doe’s non-

obscene comments related to sex and Doe’s protected communicative acts in order to

protect unwilling listeners or viewers in an informal campus setting from taking

oﬀense. Therefore, their regulation of Doe’s speech and communicative acts violates the

First Amendment.

          The University Defendants Breached the Terms of Their Contract with Doe

          Two separate UMass Lowell policy manuals describing the Student Conduct

Process and the Title IX Procedure both formed the basis of Doe’s contractual

relationship with the University. The same conduct that is deﬁned as “Non-Title IX

Sexual Misconduct” under the former is deﬁned as “Title IX Sexual Harassment” under

the latter. The former provides signiﬁcantly fewer due process protections than the

latter.

          The University drafted the deﬁnitional ambiguity into its relevant policy

manuals. The University maintained this ambiguity during the process it used against


                                         Page 5 of 20
      Case 1:23-cv-12077-WGY        Document 31       Filed 12/18/23    Page 6 of 20

                                Joint Pretrial Memorandum


Doe by repeatedly referring to both the Student Conduct Process and the Title IX

Procedure in its notices to Doe. Thus there is an uncertainty of which deﬁnition and

process should have been applied to Doe’s conduct. As interpreted in Doe’s favor, the

uncertainty means that Doe had a reasonable expectation to have been provided the

greater procedural protections of the Title IX Procedure.

       The University breached the terms of its contract with Doe when it denied Doe

several procedural protections available under the Title IX Procedure by imposing

punitive measures, by failing to give advance notice of the conduct allegedly

constituting sexual harassment, by using a biased investigator, by consolidating

complaints arising out diﬀerent facts or circumstances, by denying the right to cross-

examination, and by denying the right to an eﬀective appeal.

       Even if the ambiguity between the Student Conduct Process and the Title IX

Procedure allows an interpretation that the University appropriately provided the

former to Doe (which it does not), the University still breached the terms of its contract

with Doe. In ﬁnding Doe responsible for “Non-Title IX Sexual Misconduct,” the

university switched the deﬁnition of this term from the contractual “unwelcomed

conduct of a sexual nature” to “unwelcomed conduct related to sex.” The University

further breached by misapplying this already corrupted deﬁnition to Doe’s pure speech

(as opposed to conduct) related to sex, and to Doe’s entirely non-sexual conduct.




                                       Page 6 of 20
      Case 1:23-cv-12077-WGY         Document 31       Filed 12/18/23    Page 7 of 20

                                 Joint Pretrial Memorandum


       The University also breached its basic obligation to provide procedural fairness

in disciplinary proceedings by denying Mr. Doe notice of the details of the charges

against him, the right to see the relevant evidence, the right to cross-examination by

counsel, and the right to an eﬀective appeal. Lastly, the University breached its basic

substantive fairness obligation by steadfastly refusing to consider the critical issue of

the complainants’ credibility created by the timing of their complaints on the day after

Doe caught complainant C.T. and several other students violating the UMass Lowell

Alcohol Policy.

       The University Defendants Violated the Massachusetts Civil Rights Act

       In order to interfere with Doe’s First Amendment right to express his non-

obscecne personal thoughts and feelings concerning sexuality and sexual roles to other

students in the informal atmosphere of a university residential community, the

university refused to provide Plaintiﬀ with the Title IX Procedure he expected under his

contract with UMass Lowell and trespassed Doe from living in or entering university

housing, thereby using the threat of police force against Doe and denying Doe his

contractual rights, as well as the privileges and beneﬁts of his educational program. The

denial of entry into university buildings under the threat of police force, of rights due

under a contract, of the beneﬁts and privileges of an educational program, all constitute

threats, intimidation, and coercion under the Massachusetts Civil Rights Act, Mass.

Gen. Laws ch. 12, §§ 11H-I. Therefore, the University Defendants violated the


                                        Page 7 of 20
      Case 1:23-cv-12077-WGY          Document 31      Filed 12/18/23   Page 8 of 20

                                 Joint Pretrial Memorandum


Massachusetts Civil Rights Act by interfering with Doe’s First Amendment rights by

threats, intimidation, or coercion.

          B. University Defendants

       This case concerns the disciplinary process used to respond to complaints against

Doe by his fellow Resident Advisors (“RAs”) at the University of Massachusetts Lowell

and the sanctions imposed upon him as a result of that process.

       Complaints and Investigation

       The evidence will show that on May 7, 2023, several students at UMass Lowell

who act as RAs (J.T., C.T.Z., E.Z., and E.H.) reported to their supervisor that they had

concerns with how two of their fellow RAs—John Doe and K.G.—interacted with

female RAs.

       The University initiated an investigation of the complaints against Doe and K.G.

under the Student Code of Conduct (“Code”). The Code prohibits various forms of

“Non-Title IX Sexual Misconduct,” including “sexual misconduct” defined as

“unwelcomed conduct of a sexual nature when . . . such conduct unreasonably:

interferes with a person or person's work or academic performance; interferes with or

limits a person or person’s ability to participate in or benefit from a work or academic

program or activity; or creates an intimidating, hostile, or offensive working or

academic environment.”




                                        Page 8 of 20
     Case 1:23-cv-12077-WGY        Document 31       Filed 12/18/23   Page 9 of 20

                               Joint Pretrial Memorandum


      The University followed its process under the Code. The University assigned an

investigator, Hannah Monbleau, to investigate the formal complaints made. Monbleau

interviewed the complainants, respondents Doe and K.G., and witnesses. Monbleau

solicited potential witnesses and documentary evidence from Doe and K.G. Monbleau

completed an Investigative Report and recommended that the case against Doe move

forward to a hearing panel. In contrast, Monbleau determined that there was not

evidence of policy violations by K.G., and the charge against K.G. of sexual misconduct

was dropped.

      The University provided the Investigative Report to Doe and Doe’s counsel, and

Doe provided a written response to the Investigative Report on June 30, 2023.

      Hearing Panel

      The University convened a hearing panel on August 22, 2023 to determine

whether Doe engaged in sexual misconduct in violation of the Student Conduct Code.

At the hearing, the panel heard from four separate women who found Doe’s sexual

comments and non-consensual physical contact unwelcome. While Doe did not attend

the hearing, the Hearing Panel took into account his written response to the

Investigative Report and his prior statements to the investigator. The Hearing Panel

noted that Doe disputed certain behavior, but his written response “agree[d] that many

of the comments did occur with the complainants and witness.” In particular, he did

not deny saying, “What if I stuck my penis in your face?,” “I don’t need someone to


                                      Page 9 of 20
       Case 1:23-cv-12077-WGY       Document 31        Filed 12/18/23   Page 10 of 20

                                Joint Pretrial Memorandum


have sex with,” or discussing sex and food. He also did not deny touching J.T.’s legs or

hugging her.

        The Hearing Panel reasonably found that Doe’s behavior “constituted a

pervasive pattern of unwelcome conduct related to sex directed to female students.”

One of the complainants had asked not to be on RA duty with Doe anymore, and two

others told the Hearing Panel they were likewise uncomfortable interacting with Doe

any longer and it had impaired their ability to act as RAs. Accordingly, the Hearing

Panel found that Doe had violated “the sexual misconduct standard in the Student

Conduct Code.”

        In determining the appropriate sanction, the panel noted that Doe’s behavior

“impacted multiple members of the student community” and “[a]ll incidents occurred

between female residents and the respondent while in university housing.” Only “[b]y

separating [Doe] from university housing” could the University “remediate the effects”

of Doe’s actions. The panel also placed Doe on elevated probation status and required

Doe to take a consent training course prior to registering for future classes. Doe’s

probationary status would not be reflected on his transcript, but would be disclosed to

parties conducting background checks for seven years. Other sanctions, such as

suspension or expulsion from the University, were available but were not imposed on

Doe.

        There Was No Violation of Doe’s First Amendment Rights


                                       Page 10 of 20
     Case 1:23-cv-12077-WGY        Document 31        Filed 12/18/23   Page 11 of 20

                                Joint Pretrial Memorandum


      The evidence will show that the University reasonably concluded that Doe’s

pattern of comments substantially interfered with the University’s work and had

specifically impaired three RAs’ ability to perform their responsibilities as RAs. Based

on this behavior, the University could also reasonably foresee other disruptive behavior

in the absence of sanctions. Because the University’s determination that Doe’s offensive

behavior caused a substantial disruption is reasonable, its regulation of Doe’s speech

does not violate the First Amendment.

      There Was No Violation of the Massachusetts Civil Rights Act

      Even if Doe could show a violation of his civil rights (which he cannot), the

evidence will show that no such violation was done through threats, intimidation, or

coercion. If there were a violation, it was done directly by following the procedures in

the Code and imposing sanctions on Doe. In the absence of threats, intimidation, or

coercion, there can be no violation of the MCRA.

      There Was No Breach of Contract by the University

      Doe will not be able to prove the University breached a contract with Doe by

using the disciplinary process under the Code rather than its Title IX grievance process.

As a preliminary matter, a student at a public university with due process rights under

the Fourteenth Amendment does not have an additional contractual relationship with

the University regarding adherence to disciplinary codes. Even if there were a contract,




                                      Page 11 of 20
     Case 1:23-cv-12077-WGY          Document 31        Filed 12/18/23   Page 12 of 20

                                  Joint Pretrial Memorandum


the evidence will show that the University appropriately followed its process under the

Code for charges of sexual misconduct.

         The Code prohibits various forms of “Non-Title IX Sexual Misconduct,”

including “sexual misconduct” defined as “unwelcomed conduct of a sexual nature

when . . . such conduct unreasonably: interferes with a person or person's work or

academic performance; interferes with or limits a person or person’s ability to

participate in or benefit from a work or academic program or activity; or creates an

intimidating, hostile, or offensive working or academic environment.” In contrast,

complaints of sexual harassment, as defined in Title IX regulations set forth in Part 106

of title 34 of the Code of Federal Regulations, are investigated by the University

pursuant to its Sexual Harassment Grievance Procedure rather than its process under

the Code.

         The University may investigate and sanction conduct that does not meet the

definition of sexual harassment as defined in Title IX regulations, and for such conduct

is not required to use the process prescribed in Title IX regulations. The University did

so here, and its notices to Doe repeatedly refer to the Code and its prohibition of “sexual

misconduct” (rather than sexual harassment).

   (2)      Stipulated Facts

         Stipulated Facts are attached as Exhibit A.

   (3)      Contested Issues of Fact


                                        Page 12 of 20
     Case 1:23-cv-12077-WGY           Document 31        Filed 12/18/23   Page 13 of 20

                                  Joint Pretrial Memorandum


         The parties agree there are no significant contested issues of fact. Accordingly,

the parties agree to proceed on a case-stated basis.

   (4)        Jurisdictional Questions

              A. Plaintiﬀ

         Plaintiff submits the following jurisdictional question:

         1.      Does the Ex Parte Young exception to Eleventh Amendment sovereign

immunity grant the Court subject matter jurisdiction over Count I (as to the University

and as to Monbleau, Legee, Levesque, and Dunbar in their oﬃcial capacities for

prospective relief) and Count III (as to the University and as to Monbleau, Legee,

Levesque, Dunbar in their oﬃcial capacities for prospective relief)?

              B. University Defendants

         University Defendants submit the following jurisdictional question:

         1.      Does sovereign immunity deprive the Court of subject matter jurisdiction

over Count I (as to the University and as to Monbleau, Legee, Levesque, and Dunbar in

their oﬃcial capacities for damages) and Count III (as to the University and as to

Monbleau, Legee, Levesque, Dunbar in their oﬃcial capacities)?

   (5)        Questions Raised by Pending Motions

              There are no pending motions.




                                         Page 13 of 20
     Case 1:23-cv-12077-WGY          Document 31        Filed 12/18/23   Page 14 of 20

                                  Joint Pretrial Memorandum


   (6)        Issues of Law, Including Evidentiary Questions, Together with Supporting
              Authority

              A. Plaintiﬀ

         1.      Does the Ex Parte Young exception to Eleventh Amendment sovereign

immunity grant the Court subject matter jurisdiction to grant the prospective injunctive

relief in Count I as to the University and as to Monbleau, Legee, Levesque, and Dunbar

in their oﬃcial capacities? See Green v. Mansour, 474 U.S. 64 (1985); Ex parte Young, 209

U.S. 123 (1908); Doe v. Shibinette, 16 F.4th 894, 903 (1st Cir. 2021).

         2.      In their individual capacity, do Monbleau, Legee, Levesque, and Dunbar

have qualiﬁed immunity from Count I? See Papish v. Board of Curators, 410 U.S. 667,

(1973); Healy v. James, 408 U.S. 169 (1972); Cohen v. California, 403 U.S. 15 (1971); Roth

v. United States, 354 U.S. 476 (1957); Norris v. Cape Elizabeth Sch. Dist., 969 F.3d 12, 22

(1st Cir. 2020) Diaz-Bigio v. Santini, 652 F.3d 45 (1st Cir. 2011); Gay Students Org. of

Univ. of N.H. v. Bonner, 509 F.2d 652 (1st Cir. 1974); Doe v. Brandeis Univ., 177 F. Supp.

3d 561, 607 (D. Mass. 2016).

         3.      Does the Ex Parte Young exception to Eleventh Amendment sovereign

immunity grant the Court subject matter jurisdiction to grant the prospective injunctive

relief in Count III as to the University and as to Monbleau, Legee, Levesque, Dunbar in

their oﬃcial capacities? See Howcroft v. City of Peabody, 51 Mass. App. Ct. 573, 747

N.E.2d 729 (2001); Commonwealth v. ELM Med. Lab’ys, Inc., 33 Mass. App. Ct. 71, 596

N.E.2d 376 (1992).

                                        Page 14 of 20
     Case 1:23-cv-12077-WGY         Document 31        Filed 12/18/23   Page 15 of 20

                                 Joint Pretrial Memorandum


       4.     In their individual capacity, do Monbleau, Legee, Levesque, and Dunbar

have qualiﬁed immunity from Count III? See Diaz-Bigio v. Santini, 652 F.3d 45 (1st Cir.

2011); Gay Students Org. of Univ. of N.H. v. Bonner, 509 F.2d 652 (1st Cir. 1974);

Reproductive Rights Network v. President of Univ. of Mass., 45 Mass. App. Ct. 495, 699

N.E.2d 829 (1998).

       5.     Under the First Amendment, may a public university regulate its students’

non-obscene expression of personal thoughts and feelings concerning sexuality and

sexual roles to other students in the informal atmosphere of a university residential

community? See Bethel Sch. Dist. v. Fraser, 478 U.S. 675, 682 (1986); Erznoznik v.

Jacksonville, 422 U.S. 205, 213 (1975); Papish v. Board of Curators, 410 U.S. 667, (1973);

Healy v. James, 408 U.S. 169 (1972); Cohen v. California, 403 U.S. 15 (1971); Roth v.

United States, 354 U.S. 476 (1957); Norris v. Cape Elizabeth Sch. Dist., 969 F.3d 12, 22

(1st Cir. 2020); Diaz-Bigio v. Santini, 652 F.3d 45 (1st Cir. 2011); Gay Students Org. of

Univ. of N.H. v. Bonner, 509 F.2d 652 (1st Cir. 1974).

6.     Under the First Amendment, may a public university regulate non-sexually

       communicative conduct that was intended to be communicative and, in context,

       would reasonably be understood by the viewer to be communicative, such as the

       “open arms” gesture widely understood to communicate an oﬀer of a hug, or the

       use of one’s foot to move another person’s foot during recreational activity. See

       Texas v. Johnson, 491 U.S. 397 (1989); Clark v. Cmty. for Creative Non-Violence,


                                       Page 15 of 20
     Case 1:23-cv-12077-WGY        Document 31        Filed 12/18/23   Page 16 of 20

                                Joint Pretrial Memorandum


      468 U.S. 288 (1984); Cohen v. California, 403 U.S. 15 (1971); Hernández-Gotay v.

      United States, 985 F.3d 71, 80 (1st Cir. 2021); Doe v. Brandeis Univ., 177 F. Supp.

      3d 561 (D. Mass. 2016).

7.    Does Massachusetts law permit physical contacts during recreational activity

      which could amount to assault and battery absent the participants consent? See

      Gauvin v. Clark, 404 Mass. 450, 454 (1989); Gray v. Giroux, 49 Mass. App. Ct. 436,

      439 (2000).

8.    Did the uncertainty whether the deﬁnition and process of the Student Conduct

      Process should have been applied to Doe’s conduct, or whether those of the Title

      IX Procedure should have been applied instead, create a reasonable expectation

      in Doe that he would be provided with the greater procedural protections of the

      Title IX Procedure? See Nadherny v. Roseland Prop. Co., Inc., 390 F.3d 44, 49 (1st

      Cir. 2004); Doe v. Brandeis Univ., 177 F. Supp. 3d 561, 595 (D. Mass. 2016); New

      Bedford Gas & Edison Light Co. v. Maritime Terminal, Inc., 380 Mass. 734, 735-

      36, 405 N.E.2d 653 (1980).

9.    Did the University breach its basic obligation to provide procedural and

      substantive fairness in university disciplinary proceedings? See Cloud v.

      Trustees of Boston Univ., 720 F.2d 721, 724 (1st Cir. 1983); Doe v. Brandeis Univ.,

      177 F. Supp. 3d 561, 607 (D. Mass. 2016); Coveny v. President & Trs. of the Coll.

      of the Holy Cross, 388 Mass. 16, 20, 445 N.E.2d 136 (1983).


                                      Page 16 of 20
      Case 1:23-cv-12077-WGY          Document 31        Filed 12/18/23   Page 17 of 20

                                  Joint Pretrial Memorandum


10.      Is the University liable to Doe for breach of contract if the breach does not

         violate Doe’s procedural or substantive due process rights under the Fourteenth

         Amendment? See Bishop v. Wood, 426 U.S. 341 (1976); Bleeker v. Dukakis, 665

         F.2d 401 (1st Cir. 1981); Jimenez v. Almodovar, 650 F.2d 363 (1st Cir. 1981).

11.      Has Doe proved that the University Defendants interfered with his First

         Amendment Rights through threats, intimidation, or coercion? See DeWeese-

         Boyd v. Gordon College, 487 Mass. 31, 163 N.E.3d 1000 (2021); Bally v.

         Northeastern Univ., 403 Mass. 713, 719 532 N.E.2d 49 (1989); Batchelder v. Allied

         Stores Corp., 393 Mass. 819 473 N.E.2d 1128 (1985).

              B. University Defendants

         University Defendants submit the following as issues of law:

         1.      Does sovereign immunity deprive the Court of subject matter jurisdiction

over Count I as to the University and Monbleau, Legee, Levesque, Dunbar in their

oﬃcial capacities? See Will v. Mich. Dept. of State Police, 491 U.S. 58 (1989); U.S. v.

Univ. of Mass., Worcester, 812 F.3d 35 (1st Cir. 2016); O'Neill v. Baker, 210 F.3d 41 (1st

Cir. 2000); Brown v. Newberger, 291 F.3d 89 (1st Cir. 2002).

         2.      In their individual capacity, do Monbleau, Legee, Levesque, and Dunbar

have qualiﬁed immunity from Count I? See Diaz-Bigio v. Santini, 652 F.3d 45 (1st Cir.

2011).




                                         Page 17 of 20
     Case 1:23-cv-12077-WGY           Document 31          Filed 12/18/23   Page 18 of 20

                                  Joint Pretrial Memorandum


          3.   Does sovereign immunity deprive the Court of subject matter jurisdiction

over Count III as to the University and Monbleau, Legee, Levesque, Dunbar in their

oﬃcial capacities? See Commonwealth v. ELM Med. Lab’ys, Inc., 33 Mass. App. Ct. 71,

596 N.E.2d 376 (1992); Howcroft v. City of Peabody, 51 Mass. App. Ct. 573, 747 N.E.2d

729 (2001).

          4.   In their individual capacity, do Monbleau, Legee, Levesque, and Dunbar

have qualiﬁed immunity from Count III? See Howcroft v. City of Peabody, 51 Mass.

App. Ct. 573, 747 N.E.2d 729 (2001); Duarte v. Healy, 405 Mass. 43, 537 N.E.2d 1230

(1989).

          5.   Has Doe proved University Defendants did not reasonably believe Doe’s

conduct materially disrupted the work of the University? Morse v. Frederick, 551 U.S.

393 (2007); Bethel Sch. Dist. No. 403 v. Fraser, 478 U.S. 675 (1986); Tinker v. Des Moines

Indep. Cmty. Sch. Dist., 393 U.S. 503 (1969); Norris on behalf of A.M. v. Cape Elizabeth

Sch. Dist., 969 F.3d 12 (1st Cir. 2020).

          6.   Has Doe proved that University Defendants interfered with his

constitutional rights through threats, intimidation, or coercion? Longval v.

Commissioner of Correction, 404 Mass. 325, 333, 535 N.E.2d 588 (1989).

          7.   Does Doe, a student at a public university who is entitled to due process

rights under the Fourteenth Amendment, also have a contractual relationship with the

University regarding adherence to the Student Code of Conduct or Sexual Harassment


                                           Page 18 of 20
     Case 1:23-cv-12077-WGY            Document 31        Filed 12/18/23   Page 19 of 20

                                    Joint Pretrial Memorandum


Grievance Procedure? Gorman v. Univ. of Rhode Island, 837 F.2d 7 (1st Cir. 1988);

Lyons v. Salve Regina Coll., 565 F.2d 200 (1st Cir. 1977); Coveney v. President &

Trustees of Coll. of Holy Cross, 388 Mass. 16, 445 N.E.2d 136 (1983).

         8.       Has Doe proved that the University should have reasonably expected Doe

to believe the Student Code of Conduct or the Sexual Harassment Grievance Procedure

required the University to adjudicate charges of sexual misconduct under its Sexual

Harassment Grievance Procedure? Schaer v. Brandeis Univ., 432 Mass. 474, 478 (2000)

         9.       Did the University provide basic fairness to Doe in investigating and

hearing the complaints against him? Haidak v. Univ. of Massachusetts-Amherst, 933

F.3d 56 (1st Cir. 2019); Doe v. Trustees of Bos. Coll., 942 F.3d 527 (1st Cir. 2019).

         10.      Is the investigation and disciplinary process used regarding K.G., the

other RA besides Doe accused of sexual misconduct, relevant to this case? Fed. R. Civ.

P. 26(c); Doe v. Harvard Univ., 462 F. Supp. 3d 51 (D. Mass. 2020).

   (7)         Any Requested Amendments to the Pleadings

         None.

   (8)         Any Additional Matters to Aid in the Disposition of the Action

         None.

   (9)         The Probable Length of the Trial

         The parties agree to a non-jury trial on a case stated basis. The parties request

one hour for argument.


                                          Page 19 of 20
    Case 1:23-cv-12077-WGY         Document 31        Filed 12/18/23   Page 20 of 20

                               Joint Pretrial Memorandum


  (10)   Witness List

     Not applicable.

  (11)   Proposed Exhibits

     The exhibit list is attached as Exhibit B.

  (12)   Positions on any Remaining Objections to the Evidence Identiﬁed in the
         Pretrial Disclosure Required by Fed. R. Civ. P. 26(a)(3).

     None.



     Dated: December 15, 2023

JOHN DOE                                   UNIVERSITY DEFENDANTS
By his attorney,                           By its attorney,

/s/ __________                             /s/ ________________
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                                      Page 20 of 20
